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                    EXHIBIT A
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    Dear Employee,

    For the past 12 years, GE Energy businesses have addressed a wide
    variety of U.S. employee disputes through ADR procedures (Alternate
    Dispute Resolution). Most employees with ADR are covered by the newer
    Solutions Procedure, while some employees are covered by DRP (Dispute
    Resolution Process)*. In each case, ADR provides you with a four-step
    dispute resolution process. It begins with formal and elevated internal
    reviews of a concern, continues to non-binding mediation before a third
    party neutral mediator and, if a concern is still not resolved, binding
    arbitration before a third party neutral arbitrator**. ADR enables
    employees and employers to use formal internal discussions and external
    mediation and arbitration to resolve their differences - without the time and
    expense typical of court proceedings. ADR has proven to be an effective,
    interactive and fair way for employee disputes to be resolved.

    Since DRP and Solutions were introduced, there have been several
    legislative, judicial and agency developments regarding the content of
    alternative dispute programs with mandatory arbitration provisions. These
    developments have led us to amend DRP and Solutions to ensure they
    continue to provide an effective and fair means of resolving workplace
    disputes early, quickly, and with limited disruption to employees’ lives and
    the workplace.

    For an explanation of ADR and these amendments, CLICK HERE to access
    MyLearning ADR training.

    The amendments will take effect upon 60 days notice ~ December 4, 2010

    Please contact your HR representative if you have any questions about
    these changes.


    Sharon Daley
    Vice President, Human Resources
    GE Energy

    * All U.S. exempt and salaried non-exempt employees within GE Energy are covered by
    Solutions, except those who have not been provided with Solutions and continue to be covered
    under DRP. Additionally, non-represented hourly employees within GE Industrial Solutions are
    covered by Solutions.

    ** The results of arbitration are typically not binding on those employees under DRP who
    accepted their current positions prior to when DRP went into effect in June 1998.




                                                                                               Exhibit A
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